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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   CHRISTIAN TOWNER,                                  Case No.: 17-CV-0595 W (KSC)
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13   v.                                                 MOTION TO DISMISS WITH
                                                        PREJUDICE [DOC. 13]
14   MIDLAND CREDIT MANAGEMENT,
     INC.,
15
                                     Defendant.
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18         Pending before the Court is a joint motion to dismiss this action with prejudice.
19   Good cause appearing, the Court GRANTS the joint motion [Doc. 15] and DISMISSES
20   this case WITH PREJUDICE. Each party shall bear its own costs and attorney’s fees.
21         IT IS SO ORDERED.
22   Dated: May 7, 2018

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